        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 1 of 10




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

NANTY FREDERICK, GREGORY               )
FORD, AND STEPHEN PARKS,               )
                                       )
                                       )            Civil Action Number:
                                       )
            Plaintiffs,                )            FLSA Action
                                       )            Jury Trial Demanded
v.                                     )
                                       )
APOGEE SECURITY SERVICES LLC, )
a Georgia Limited Liability Company and)
LAMONT MONTEZ, Individual,             )
                                       )
      Defendants.                      )

                                  COMPLAINT

      COME NOW Plaintiffs Nanty Frederick, Gregory Ford and Stephen Parks

(collectively “Plaintiffs”) by and through their undersigned counsel, and file this

lawsuit against Defendants Apogee Security Services, LLC (“Apogee”) and

Lamont Montez (“Montez”) pursuant to § 216(b) of the Fair Labor Standards Act

of 1938, and in support thereof would further state as follows:

                                INTRODUCTION

      1.     The instant action arises from Defendant Khiani LLC’s, Defendant

Meeta Khiani’s, and Defendant Arjun Khiani’s (Collectively “Defendants”)

violations of Plaintiffs’ rights under the FLSA, 29 U.S.C. §§ 201, et seq., as
        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 2 of 10




amended and specifically the provisions of the FLSA found at § 216(b) to remedy

violations of the overtime provisions of the FLSA by Defendants which have

deprived Plaintiffs of their lawful minimum wages and overtime wages.

      2.    This action is brought to recover unpaid minimum wage and overtime

compensation owed to Plaintiffs, pursuant to the FLSA.

      3.    Plaintiffs were employed by Defendants, working as security

personnel at Hollywood Construction’s Bolton Park Residential Campus

construction site at 1888 Hollywood Road, Atlanta, Georgia 30318 (hereinafter

“Defendants’ Atlanta Location”).

      4.    During the employment of Plaintiffs, Defendants committed

violations of the FLSA by failing to compensate Plaintiffs at the legally

appropriate minimum wage for all hours worked, and at the legally appropriate

overtimes rate for all hours worked in excess of 40 hours in a given workweek.

      5.    During the employment of Plaintiffs, and for at least three years prior

to the filing of this Complaint, Defendants committed widespread violations of the

FLSA by failing to compensate Plaintiffs at the legally appropriate minimum wage

for all hours worked , and at the legally appropriate overtime rate for hours worked

in excess of 40 hours in a given work week




                                         2
        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 3 of 10




      6.     Plaintiffs   seek    minimum      wage   compensation    and    overtime

compensation for work performed, an equal amount of liquidated damages,

attorneys’ fees, costs, and other appropriate relief pursuant to 29 U.S.C. § 216(b).

                              JURISDICTION AND VENUE

      7.      This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 (federal question jurisdiction) and 29 U.S.C. § 216(b) (FLSA).

      8.     Venue is proper in the Northern District of Georgia under 28 U.S.C.

§1391 (a) and (c) because some of the acts complained of occurred within the State

of Georgia and the jurisdiction of this Court and because Defendants are subject to

personal jurisdiction in this District.

                                          PARTIES

      9.     Plaintiff Nanty Frederick (“Frederick”) resides in Atlanta, Fulton

County, Georgia (within this District). Upon information and belief, Plaintiff

Frederick was employed by Defendants to work as security personnel at

Defendants’ Atlanta Location from on or about November 3, 2015 thru on or about

February 26, 2016.

      10.    Plaintiff Gregory Ford (“Ford”) resides in Atlanta, Fulton County,

Georgia (within this District). Upon information and belief, Plaintiff Ford was




                                           3
        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 4 of 10




employed by Defendants to work as security personnel at Defendants’ Atlanta

Location from on or about November 27, 2015 thru on or about February 26, 2016.

      11.    Plaintiff Stephen Parks (“Parks”) resides in Atlanta, Fulton County,

Georgia (within this District). Upon information and belief, Plaintiff Parks was

employed by Defendants to work as security personnel at Defendants’ Atlanta

Location from on or about March 1, 2015 thru on or about February 23, 2016.

      12.    At all times material to this action, Plaintiffs were “employees” of

Defendants defined by § 203(e) (1) of the FLSA, and worked for Defendants

within the territory of the United States.

      13.    These same individuals are further covered by §§ 203, 206 and 207

of the FLSA for the period in which they were employed by Defendants, and were

engaged in commerce or in the production of goods for commerce.

      14.    Defendant Apogee Security Services, LLC is a limited liability

corporation formed under the laws of the State of Georgia and provides security

services to various clients including Hollywood Construction.

      15.    Defendant Lamont Martinez is listed on the Georgia Secretary of

State’s web site as an Organizer of and the Registered Agent of Apogee Security

and upon information and belief is a resident of Flowery Branch, Hall County,

Georgia.


                                             4
        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 5 of 10




      16.    Defendants conduct business within this State and District.

      17.    Defendants maintained either actual or constructive control, oversight

and direction of Defendants’ Atlanta Location, including the employment and pay

and other practices of that operation.

      18.Defendant Apogee is subject to personal jurisdiction in the State of

Georgia for purposes of this lawsuit and can be served through its registered agent,

Lamont Martinez, 1525 Grayson Highway, suite 217 Grayson, Georgia 30017.

      19.    Defendant Meeta Khiani is subject to personal jurisdiction in the State

of Georgia for purposes of this lawsuit and can be served at 130 Tree Park Circle,

Flowery Branch, Georgia 30542.

      20.    At all times material to this action, Defendant Apogee was an

enterprise engaged in commerce or in the production of goods for commerce as

defined by § 203 of the FLSA, and had an annual gross volume of sales which

exceeded $500,000.

      21.    At all times material to this action, Defendant Martinez was an

"employer" of Plaintiffs, as defined by § 203(d) of the FLSA.

      22.    The minimum hourly wage provisions set forth in § 206 of the FLSA

apply to Defendants.




                                         5
        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 6 of 10




      23.     The overtime provisions set forth in § 207 of the FLSA apply to

Defendants.

                              FACTUAL ALLEGATIONS

      24.     At all times relevant to this action, Plaintiffs’ primary duty was to

provide security services at Defendants’ Atlanta Location.

      25.At all times relevant to this action, Plaintiffs’ primary duty was not the

management of the enterprise in which they were employed, nor of a customarily

recognized department or subdivision thereof.

      26.At all times relevant to this action, Plaintiffs did not possess the authority

to hire or fire other employees.

      27.At all times relevant to this action, Plaintiffs did not possess discretion or

exercise independent judgment with respect to matters of significance in the daily

activities they performed.

      28.At all times relevant to this action, Plaintiffs were non-exempt employees

for purposes of overtime compensation.

      29.At all times relevant to this action, Plaintiffs were at times required to

work in excess of forty (40) hours a week.

      30.At all times relevant to this action, Defendants did not compensate

Plaintiffs for all time worked in excess of forty (40) hours per week at a rate at


                                          6
        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 7 of 10




which Plaintiffs were legally required to be paid under the compensation

requirements of the FLSA under 29 U.S.C. §§ 203 and 207.

      31.At all times relevant to this action, Defendants did not compensate

Plaintiffs for all time worked at a rate at which Plaintiffs were legally required to

be paid under the compensation requirements of the FLSA under 29 U.S.C. §§ 203

and 206.

      32.The records, if any, concerning the number of hours actually worked by

Plaintiffs, and the compensation actually paid to Plaintiffs are in the possession of

Defendants.

      33.Defendants failed to meet the requirements for any of the exemptions

from application of the overtime compensation requirements of the FLSA under 29

U.S.C. § 206, § 207 or § 213 with respect to Plaintiffs.

      34.Defendants failed to meet the requirements for paying Plaintiffs at a rate

at which Plaintiffs were legally required to be paid under the compensation

requirements of the FLSA under 29 U.S.C. §§ 203, 206 and 207.

      35.Defendants are liable to Plaintiffs for compensation for any and all time

worked in excess of 40 hours per week at the rate at which Plaintiffs were legally

required to be paid under the compensation requirements of the FLSA under 29

U.S.C. §§ 203 and 207.


                                          7
        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 8 of 10




      36.Defendants are liable to Plaintiffs for compensation for any and all time

worked at the rate at which Plaintiffs were legally required to be paid under the

compensation requirements of the FLSA under 29 U.S.C. §§ 203 and 206.

      37.By reason of the said intentional, willful and unlawful acts of

Defendants, Plaintiffs have suffered damages plus incurring costs and reasonable

attorneys’ fees.

      38.As a result of Defendants’ willful violations of the FLSA, Plaintiffs are

entitled to liquidated damages.

      39.Plaintiffs have retained the undersigned counsel to represent them in this

action, and pursuant 29 U.S.C. §216(b), and O.C.G.A. 13-6-11, Plaintiffs are

entitled to recover all reasonable attorneys' fees and costs incurred in this action.

      40.Plaintiff demands a jury trial.

                                      COUNT I

      41.      Plaintiffs repeat and incorporate by reference paragraphs 1-40 herein.

      42.      By their actions alleged herein, Defendants willfully, knowingly

and/or recklessly violated the FLSA provisions and corresponding federal

regulations.

      43.      Defendants have willfully, intentionally, and/or recklessly engaged in

a widespread pattern and practice of violating the provisions of the FLSA, as


                                           8
        Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 9 of 10




detailed herein, by failing to properly pay Plaintiffs’ overtime compensation in an

amount at a rate not less than one and one-half times the regular rate at which they

were employed.

      44.    As a result of Defendants’ violations of the FLSA, Plaintiffs, have

suffered damages by failing to receive an overtime rate not less than one and one-

half times the regular rate at which they were employed.

      45.    Defendants have not made a good faith effort to comply with the

FLSA with respect to its overtime compensation of Plaintiffs.

      46. As a result of the unlawful acts of Defendants, Plaintiffs have been

deprived of overtime compensation equal to not less than one and one-half times

the regular rate at which they were employed in amounts to be determined at trial,

and are entitled to recovery of such amounts, liquidated damages, attorneys' fees,

costs and other relief.

                            PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, pursuant to § 216(b) of the FLSA, pray for the

following relief:

      A. That Plaintiffs be awarded damages in the amount of their unpaid

compensation, plus an equal amount of liquidated damages;

      B. That Plaintiffs be awarded reasonable attorneys' fees;


                                         9
       Case 1:16-cv-00721-WSD Document 1 Filed 03/07/16 Page 10 of 10




      C. That Plaintiffs be awarded the costs and expenses of this action; and

      D. That Plaintiffs be awarded such other, further legal and equitable relief,

including, but not limited to, any injunctive and/or declaratory relief to which they

may be entitled.

      Respectfully submitted this 6th day of March, 2016 .

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                                         10
